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 3
                             UNITED STATES DISTRICT COURT
 4                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 5
         STRIKE 3 HOLDINGS, LLC,
 6
                              Plaintiff,
 7                                                       C17-1731 TSZ
            v.
 8                                                       MINUTE ORDER
         JOHN DOE (73.225.38.130),
 9
                              Defendant.
10
          The following Minute Order is made by direction of the Court, the Honorable
11
     Thomas S. Zilly, United States District Judge:
12          (1)    Plaintiff’s motion to compel production of defendant’s hard drive, 1 docket
     no. 125, is GRANTED in part and DENIED in part, as follows. Plaintiff may designate
13   one expert to examine the “imaged” hard drive. Such examination shall occur, within
     twenty-one (21) days of the date of this Minute Order, at a facility upon which the parties
14   mutually agree. Defendant’s expert may also be present during the examination. Such
     examination shall be limited to searching for existing and/or deleted files matching the
15   hash values set forth in Exhibit A to the Complaint, docket no. 1. If any such files are
     discovered, plaintiff’s expert may copy and/or otherwise make a record concerning the
16   presence of such files, which may be provided to plaintiff’s counsel along with any report
     concerning the examination. Plaintiff (and/or its attorneys and/or its experts) may not
17   take possession of the “imaged” hard drive (or the original drive) and may not search for
     or view any other materials on the “imaged” hard drive, including any items protected by
18   attorney-client or work-product privilege. Except as granted, plaintiff’s motion is denied.
19

20   1
     Plaintiff has moved with respect to two hard drives, but defendant has only one relevant hard
   drive (Serial No. 9VP05TWX) of which defendant’s expert Michael Yasumoto made a copy for
21
   forensic purposes (the “imaged” hard drive). See Yasumoto Report, Ex. 10 to Edmondson Decl.
   (docket no. 175-10). Although defendant has purchased other used computers to refurbish (and
22 presumably sell) them, plaintiff makes no motion to compel the hard drives of those devices.

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 1           (2)     Plaintiff’s motion to compel production of defendant’s son’s hard drive,
     docket no. 136, and plaintiff’s motion to compel production of communications between
 2   defendant’s attorneys and defendant’s son’s lawyers, docket no. 141 & 170, are
     DENIED. Plaintiff’s request to examine defendant’s son’s hard drive is not proportional
 3   to the needs of the case, which has been narrowed to solely defendant’s counterclaim for
     declaratory judgment of his own (as opposed to his son’s) non-infringement of plaintiff’s
 4   copyrighted materials. Pursuant to the common defense and work-product doctrines,
     plaintiff is not entitled to communications between defendant’s attorneys and defendant’s
 5   son’s lawyers.

 6        (3)     Plaintiff’s motion to compel responses to five questions posed and
   unanswered in defendant’s deposition, docket no. 126, is DENIED. To the extent not
 7 already produced, however, defendant shall provide to plaintiff within fourteen (14) days
   of the date of this Minute Order copies of any fee agreements between him and his
 8 attorneys.

 9       (4)    Defendant’s motion to compel source code, docket no. 143, is STRICKEN
   without prejudice to refiling if necessary after the Court rules on defendant’s motion for
10 summary judgment.
         (5)    The Court DECLINES to award attorney’s fees or costs to either party in
11 connection with the discovery motions addressed in this Minute Order.

12        (6)     Defendant’s motion for summary judgment, docket no. 174, is RENOTED
   to November 1, 2019. Any supplemental response relating solely to the examination of
13 defendant’s “imaged” hard drive, which shall not exceed eight (8) pages in length, shall
   be filed by plaintiff on or before October 28, 2019. Any supplemental reply, which shall
14 not exceed four (4) pages in length, shall be filed by defendant on or before the new
   noting date.
15
          (7)     The Clerk is directed to send a copy of this Minute Order to all counsel of
16 record.

17         Dated this 19th day of September, 2019.

18
                                                     William M. McCool
19                                                   Clerk

20                                                   s/Karen Dews
                                                     Deputy Clerk
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